               Case 1:21-cr-02032-SMJ         ECF No. 3         filed 08/10/21     PageID.4 Page 1 of 1


                                             CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   Thomas Alex Morrison, Jr.       CASE NO.                              1:21-CR-2032-SMJ-1
                                                                                        ______________________
                                                                                                         FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON
                                                ✔
                                    2
                TOTAL # OF COUNTS: _______   _________FELONY    _________MISDEMEANOR    _________PETTY OFFENSE
                                                                                                Aug 10, 2021
                                                                                                    SEAN F. MCAVOY, CLERK




Count            Statute               Description of Offense                                    Penalty

                                                                       CAG no less than 30 years and up to life; $250,000 fine;
        18 U.S.C. §§ 1153,
  1                            Aggravated Sexual Abuse                 no less than 5 years and up to life supervised release; $100
        2241(c)
                                                                       plus $5,000 special penalty assessment.


                                                                       CAG no less than 30 years and up to life; $250,000 fine;
        18 U.S.C. §§ 1153,
  2                            Aggravated Sexual Abuse                 no less than 5 years and up to life supervised release; $100
        2241(c)
                                                                       plus $5,000 special penalty assessment.
